Case 6:20-cv-00881-ADA Document 83-2 Filed 06/29/21 Page 1 of 7




                 EXHIBIT 1
    Case 6:20-cv-00881-ADA Document 83-2 Filed 06/29/21 Page 2 of 7


                                            Pages 1 - 27

                   UNITED STATES DISTRICT COURT

                 NORTHERN DISTRICT OF CALIFORNIA

Before The Honorable William H. Alsup, Judge

GOOGLE LLC,                    )
                               )
           Plaintiff,          )
                               )
  VS.                          )      NO. C 20-06754 WHA
                               )
SONOS, INC.,                   )
                               )
           Defendant.          )
_______________________________)

                              San Francisco, California
                              Thursday, November 19, 2020

              TRANSCRIPT OF TELEPHONIC PROCEEDINGS

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          (APPEARANCES CONTINUED ON FOLLOWING PAGE)




Reported Remotely By:     Ana M. Dub, RMR, RDR, CRR, CCRR, CRG
                          CSR No. 7445, Official U.S. Reporter
         Case 6:20-cv-00881-ADA Document 83-2 Filed 06/29/21 Page 3 of 7   2


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5

6    Also Present:             Joseph Shear, Google

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         Case 6:20-cv-00881-ADA Document 83-2 Filed 06/29/21 Page 4 of 7       16


1    forum.   That's not forum shopping.      That is a legitimate choice

2    of forum where they have a substantial presence and where the

3    time to trial allows us to get to trial quickly.

4         Yes, they would like to go to trial much more slowly.

5    They would prefer a venue where they don't have to face a quick

6    trial, absolutely.

7         And Mr. Verhoeven, my learned colleague, says that,

8    you know, once we decide we're going to be in Texas or we file,

9    they have the right to challenge it.       They sure do.     But the

10   proper way to challenge it is through a 1404(a) motion brought

11   in western Texas, through a motion to transfer.

12        And, Your Honor, by the way, if you grant our motion, they

13   can still do that.    There's nothing about this court declining

14   declaratory judgment jurisdiction that prohibits them from

15   bringing a motion to transfer in front of that court.          So they

16   absolutely do, if they think this is a more convenient venue,

17   have the right to file a motion to transfer in that district.

18   And if they can show that this district is clearly more

19   convenient, which they cannot, then the case would be

20   transferred.

21        But to accuse us of forum shopping and saying that that

22   district has absolutely no connection is just wrong.          They have

23   a thousand engineers there.

24        And, Your Honor, he says:      Well, you know, the only

25   connection Sonos can point to is the cloud infrastructure, and
         Case 6:20-cv-00881-ADA Document 83-2 Filed 06/29/21 Page 5 of 7   17


1    the cloud infrastructure doesn't have a connection.

2         Your Honor, I think that's a gross oversimplification.

3    Two of the patents-in-suit are what we call our cloud queue

4    patents, and they deal with exactly how music streaming on a

5    cloud gets transferred between a device, let's say a cell

6    phone, and a speaker and how do you take a queue that's queued

7    up in the cloud and transfer that queue of music from one

8    device to another.      And that inherently deals with the

9    structure, function, and operation of the cloud infrastructure.

10        And that cloud infrastructure, as we understand it, is, in

11   fact, developed in Austin.      And we pointed out that they are

12   recruiting for engineers for that infrastructure, for the

13   development of that infrastructure, in Austin and that their

14   own websites say and talk about the fact that Austin is a hub

15   for that technology.

16        Now, I will readily admit that there is also accused

17   technology that was developed in Northern California for sure.

18   But to say that it has no connection to the lawsuit, that's

19   absolutely, absolutely not true.

20        Your Honor, if I had a couple more minutes, I'd love to

21   respond to his other points, but I do want to be respectful of

22   your time.

23              THE COURT:   I could have sworn that there was a Sonos

24   lawsuit.    Is it Judge Chen?

25              MR. ROBERTS:   That's correct, Your Honor.      They
         Case 6:20-cv-00881-ADA Document 83-2 Filed 06/29/21 Page 6 of 7       22


1         And by the time we get to the point where, you know, maybe

2    there's a vaccine and this court can start setting things for

3    trial again, we're going to have at least a full year, if not a

4    year and a half, of jury trials in backlog.        And the notion

5    that we're going to work through those in any kind of a timely

6    way such that this case could get to trial in 18 months from

7    now or anything close to it strikes me as exceptionally

8    unlikely.

9             THE COURT:    The comment I'm about to make falls into

10   the category of:    You might get what you wish for.

11        My practice, when someone seeks declaratory relief as the

12   plaintiff that they don't infringe, is an automatic opening

13   their doors to bone-crushing discovery because they're the

14   plaintiff and they're the ones claiming they don't infringe.

15   It's the exact opposite of whenever the patent holder sues.

16        And you will be losing that advantage if you don't get me

17   as your judge.   I would make Google open their books, open

18   their records, all their source code, get those people up for

19   deposition pronto, because they're the ones seeking relief; and

20   it would be unfair to give them relief without giving you

21   bone-crushing discovery.     So if you win this motion, you're

22   going to lose out on that.     I'll just give you that point for

23   future reference.

24        And by the way, 18 months, in my view, is a long time.           I

25   usually get patent cases to trial in 12 to 14 months.          Now, the
         Case 6:20-cv-00881-ADA Document 83-2 Filed 06/29/21 Page 7 of 7


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2                          CERTIFICATE OF REPORTER

3              I certify that the foregoing is a correct transcript

4    from the record of proceedings in the above-entitled matter.

5

6    DATE:   Monday, November 23, 2020

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9            __________________________________________________

10           Ana M. Dub, CSR No. 7445, RDR, CRR, CCRR, CRG, CCG
                   Official Reporter, U.S. District Court
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